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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                                                       MDL No. 2741



                                       (SEE ATTACHED SCHEDULE)



                            CONDITIONAL TRANSFER ORDER (CTO −318)


On October 3, 2016, the Panel transferred 19 civil action(s) to the United States District Court for the
Northern District of California for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See 214 F.Supp.3d 1346 (J.P.M.L. 2016). Since that time, 3,492 additional action(s) have been
transferred to the Northern District of California. With the consent of that court, all such actions have been
assigned to the Honorable Vince Chhabria.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Northern District of California and assigned to Judge Chhabria.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Northern District of
California for the reasons stated in the order of October 3, 2016, and, with the consent of that court, assigned
to the Honorable Vince Chhabria.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Northern District of California. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:


                  Feb 28, 2022
                                                           John W. Nichols
                                                           Clerk of the Panel
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IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                                 MDL No. 2741



                  SCHEDULE CTO−318 − TAG−ALONG ACTIONS



  DIST     DIV.      C.A.NO.    CASE CAPTION


CALIFORNIA CENTRAL

  CAC         2      22−01033   Sofia Manukyan v. Monsanto Company et al

CONNECTICUT

   CT         3      22−00249   Sullivan v. Monsanto Company
